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                             Document      Page 1 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 2 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 3 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 4 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 5 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 6 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 7 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 8 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document      Page 9 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 10 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 11 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 12 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 13 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 14 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 15 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 16 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 17 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 18 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 19 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 20 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 21 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 22 of 75
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                             Document     Page 23 of 75
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                             Document     Page 24 of 75
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                             Document     Page 25 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 26 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 27 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 28 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 29 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 30 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 31 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 32 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 33 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 34 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 35 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 36 of 75
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                             Document     Page 37 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 38 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 39 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 40 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 41 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 42 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 43 of 75
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                             Document     Page 44 of 75
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                             Document     Page 45 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 46 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 47 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 48 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 49 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 50 of 75
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                             Document     Page 51 of 75
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                             Document     Page 52 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 53 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 54 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 55 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 56 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 57 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 58 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 59 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 60 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 61 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 62 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 63 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 64 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 65 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 66 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 67 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 68 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 69 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 70 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 71 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 72 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 73 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 74 of 75
Case 22-40028-pwb   Doc 11    Filed 01/24/22 Entered 01/24/22 16:43:54   Desc Main
                             Document     Page 75 of 75
